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UNITED STATES DISTRICT COURT

WESTERNDISTRICT OF TENNESSE§BU§_ IZ Pft 6- 113

 

 

WESTERN DIVISION
HARDWOOD MARKET REPORT, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
HARDWOOD PUBLISHING INC., CASE NO: 2:05-2131-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Notiee Of Voluntary
Dismissal entered on July ll, 2005, this cause is hereby dismissed with prejudice.

ROVED:

 

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ED STATES DISTRICT COURT

    
 

 

Clerk of Court

 

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with Hu\e 58 and/or 79(a) FHCP on

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Honorable J. Breen
US DISTRICT COURT

